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AO 243(Rev.09/17)
                        MOTION UNDER 28U.S.C.j2255TO VACATE,SET ASIDE,OR CORFECT
                                    SENTEN CE BY A PERSON IN FEDER AL CUSTODY
United StatesDistrictCourt                            District W Lsr FâuM (?ENr.H VL
Name(underbvhichyouwercconvicteë:
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                                                                                       DocketorCqseNo.:
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                t: . m LhIum                                           PrisonerNo.:81%1q 0E;
UNITED STATES OF AM ERICA                                          M ovant(includenaineunderqvhichconvicted)
                                                   M.              j.gvzv Fusc;
                                                    MOTION                            f
                                                                                      (1
                                                                                       F1112D
                                                                                           - RY/ cp-s    .         .c..,
                                                                                                                  D)   !
    l. (a)Nameandlocation ofcourtwhichenteredthejudgmentofconvictionyouak!challenging:                                 r
          %:kl>'QtNw j21çq'R z c'
                                .t' 0 F FLûfkztR                         j
      pA:u (                                                                      K, y.g)j,gggjy
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         (b)criminaldocketorcasenlmber(iryouknow): q.%-2ptl56-cR-Rùsp-vpEqb
   2. (a)oateofthejudgmentorconviction(iryouknow): N bvtM kEK 18' Qu21.
      (b)Dateofsentencing: vûvtM tEft h Qgzl
   a. ceng.orsentence, 1è A
                          -                   Ih cv -
                                                    7gS
   4. Namreofcrim'
                 e(allcounts):
                           f'bhIs pz RhcN To          1
                                                      )5 f -TA 1 8t)7 t q' Cûvn-lu ttt: sub<4hxte
                                                                   .




   5. (a)W hatwasyourplea? (Checkone)
          (1)Notguilty                (2) Guilty                            (3)Nolocontendere(no contest)           :

   6. (b)Ifyouentered aguiltypleatoonecountorindictment,andapotguilty pleatoanothercountorindictment,
        whatdid you plead guilty to and whatdid you plead notguilty to?




   6. lfyouwenttotrial,whatkind oftrialdidyou have? (Checkone)                     JueL            Judge oqly -.

        Didyoutestify atapretrialhearing,trial,orpost-trialhearing?                                No ,
                                                                               V
                                                                                                               Page2of 13
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    8. Didyouappealfromthejudgmentofconvi
                                        ction?                 Ye
                                                                s#                xo(qJ
         lfyou did appeal,answerthe following:
         (a) Nameofcourt:9824Eb CTAXL; CI:RY pl 8rptht.x ru$
                                                           1 TBE Ektvï#> kh QIRCUIT
         (b)oocketorcaenumbertiryoua ow),                t k - 14 ôss
         (c)Result: JVjGEM (%T fàrFT-tlh:1)                                           '
         (d)Dateofresult(ifyouknow): ûLT tk(A.                      'l.û% %
         (e)Citationtothecase(ifyouknow):                .
         (9 Groundsraised:
             > H E cly$)KX   CFPV'Q: IN ))Evj' tjg L m I idf
                                                           k-ftck: fktnocy :(jK
            R'
             H E cûvA.f r r ltgI: &
                                          I'R0csj)vfkqkt.f cwikuàltvt h.w.
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                                                                          p J
            $U 1 6T A $ 7 I VtLY U 4 Kth çtv fhgLv sgy4s
            TM                                            Ncs. CY ha1Sf.:LCtzQ'/XZ'Y'
                                                                                    S
               t çE#4tw E,l#â Ckl$PEtlwEs fkq= GE


         (g)DidyoufileapetitionforcertiorariintheUnitedStatesSuprelneCourt?           Yes              No p
             lfEûYes,''answerthefollowtng:
             (1)Docketorcasenumber(ifyou know):
             (2)Result:

              (3)Dateofresult(ifyou know):
              (4)Citationtothecase(ifyou know):
              (5)Groundsraised:




         Otherthan the directa pealslisted above,haveyou previously filed any otherm otions,petitions,orapplications,
         concerningthisjudg entofconviction in anycourt?
          Yes         No

  l1. lfyouranswerto Question 10wmsRYes,''givethefollowinginformation:
      (a) (1)Nameofcourt:
          (2)Docketorcasenumber(lfyouknow):
          (3)Dateoffiling (ifyouknow):                                                                          .



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           (4) Natureoftheproceeding:
           (5) Groundsraised:




           (6) Didyoureceiveahearin whereevidencewasgivenonyourmotion,petition,orapplication?
                   Yes         No    '
           (7) Result:
           (8) Dateofresult(ifyouknowl:
       (b) lfyoutiledanysecondmotion,petition,orapplication,givethesameinfonnation:
          (1) Nameofcourt:
          (2) Docketofcasenumber(ifyouknow):
          (3) Dateoffiling (ifyouknowl:
          (4) Natureoftheproceeding:
          (5) Groundsraised:




           (6) Didyoureceiveahearin whereevidencewasgiven onyourmotion,petition,orapplication?
                   Yes .      No
           (7) Result:
           (8) Dateofresult(ifyouknow):
       (c) Didyou appealto afederalappellatecourthavingjurisdictionovertheactiontakenonyourmotion,petition,
       orapplication?
           (1) Firstpetition:      Yes         No
           (2) Secondpetition:     Yes         No
       (d) Ifyoudidnotappealfrom theactiononany motion,petition,orapplication,explainbrieflywhy youdidnot:




                                                                                                  Page4of 13
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            )!715)                                                                                            Page4




                               .      .                                 '


            (6)'DidyoureceiveahearingwhereEvidencewasjivenonyourmotion,petition, orapplication?
                         Yes       No
          (7) Result:
          (8) Dateofresult(ifyouknowl:             '  .
                                                                                .

       (b)Ifyo'
              ufiledanysecondmotion,petition, orapplication,givethesameinfonnation:
          (1) Kameofcourt:
          (2) Docketofcasenumber(ifyouknowl:                                                   .              .


           (3) Dateoffiiing(ifyouknowl:                                     .
           (4) Natureoft*eproceeding:                                                        '
           (




           (6) Didyoureceiveahenrin
                                  'gwhereevidencewasgivenonyourmotion, petition,o.rapplication?
                     Yes           No - -
          (7) Result:               '           .
          (8) Dateofresult(ifyouknowl;
                          '
                                                                                    -- - .                .   -----

      (c) Didyouappealtoafederalappellptecourthavingjurisdictionovertl
                                                                     ieactiontakenonyourmotion,petition,

         (1) Firstpetition'
                          .     Yes -       No -
        (2) Secondpetition' .   Yes .-      No       - .-


     (d)Ifyoudidnotappealfzom theactiononénymotion,petition,orapplication,explain brieflywhyyoudidnot:




     Forthismotion,stateevery ground on whichyouclaim thatyouarebeing held in violation oftheConstitutiùn,
     laws,ortmatiesofthe United States. Attach addltionalpagesifyou havernorethan fctlrgrounds..
                     .                                                                         statethe facts
     supporting eachground.
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 12. Forthismotion,state every ground on which you claim thatyou are being held in violation ofthe Constitution,
     laws,ortreatiesofthe United States. Attach additionalpagesifyou havem orethan fourgrounds. Statethefacts
     supporting each ground. Any legalargum entsm ustbe subm itted in a separate mem orandum .

GROUNDONE: j.(.T pu:hcJxvL g??t).cAT3-ù#                                  :i #ha(N21
                                                                                   %tvx $%ï
        (a) Supportingfacts(Donotamueorcitelaw.Juststatethespeciscfactsthatsupportyourclaim.):
        AT 7-11t 4'1nE Or stx rq; czu o cxa!a yk vAL gy
        C                                               s.yjuj                                     .


        ' A'
           1'E,Gûèj w h9 ? jk( 7.j q L: zplz qrqt. qzçmoux/ pjavsg,       .


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           N h'0?Ly'
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                         )1l v(zty y.x yja(gjs(jjy gzj ;jarm zs yj.                                     .

                  7'42.5       <#my(v;jqy s ôssg yy o                .
                                                                                                  .J




       (b) DirectAppealofGround One:
           (1) lfyouappealedfrom thej dgmentofconviction,didyou(aisethisissue?
                       Yes    !      No     I
           (2) Ifyoudidnotraisethisissueinyourdirectappeal,explainwhy:
         h
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           ('QPhlè
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                             )'Ft
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                                 .Y
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                                                          j&     ;Ejkv XqBqLqjj:Cw1h
                                                                  qk                 *SiS
                                                                                   (.çp     z

       (c) Post-conviction Proceedings: .
                    Did you raisethis issuei any post-conviction motion,petition,orapplication?
                      Y es           No
           (2) lfyouanswertoQuestion(c)(1)isuYes,''state:
           Type ofmotion orpetition:
           N ame and location ofthe courtwherethe motion orDetition wmsfiled:


           Docketorcasenumber(ifyouknowl:
           Date ofthe court's decision:                                               .
           Result(attachacopy ofthecourt'sopinion ororder,ifavailable):



           (3) Didyoureceiveahearingonyourmotion,petition,orapplication?
                      Yes     :      No

                                                                                                       PageSof l3
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            (4) Did youappealfrom thedenialofyourmotion,petition,orapplication?
                      Yes          No     j
                    IfyouranswertoQuestion(c)(4)is<EYes,''didyou raisetheissueintheappeal?
                      Yes          No     '
                                          k


            (6) lfyouranswertoQuestion(c)(4)is&(Yes,''state:
            N ameand location ofthe courtwhere theappealwasfiled:


            Docketorcasenumber(ifyou know):
            Dateofthe court'sdecision:
            Result(attach acopy ofthecourt'sopinionororder,ifavailable):


            (7) Ifyouranswerto Question (c)(4)orQuestion(c)(5)isçtNo,''explainwhyyou did notappealorraisethis
            issue:




G ROUND TW O :


       (a) Supportingfacts(Do notargueorcitelaw.Juststatethespeciticfactsthatsupportyourclaim.):




       (b) DirectAppealofGround Two:
           (1) lfyouappealed from thejudgmentofconviction,didyouraisethisissue?
                      Yes          No




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            (2) Ifyoudidnotraisethisissueinyourdirectappeal,explain why:



        (c) Post-convictionProceedings:
            (1) Didyou raisethisissuein anypost-convictionmotion,petition,orapplication?
                     Yes   .    No
            (2) lfyouanswertoQuestion (c)(1)is6GYes,''state:
            Typeofmotion orpetition'
                                   .
            Name and location ofthe courtwherethem otion orpetition waslled:     '


            Docketorcasenumber(ifyouknowl:
            Dateofthe court'sdecision'
                                     .
            Result(attachacopy ofthecourt'sopinion ororder,ifavailablel:


            (3) Didyoureceiveahearingonyourmotion,petition,orapplication?
                     Yes        No
            (4) Didyouappealfrom thedenialofyourmotion,petition,orapplication?
                     Yes   ;    No       :
            (5) lfyouranswertoQuestion(c)(4)is(tYes,''didyou raisetheissueintheappeal?
                     Yes        No
            (6) IfyouranswertoQuestion (c)(4)is(çYes,''state:
            Name and location ofthecourtwherethe appealwasfiled:


            Docketorcasenumber(ifyouknowl:
            Dateofthecourt'sdecision'
                                    .
            Result(attachacopy ofthecourt'sopinionororder,ifavailable):


            (7) lfyouranswerto Question (c)(4)orQuestion(c)(5)is:W o,''explainwhyyoudidnotappealorraisethis
            issue:




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G ROUND TH REE:
                                                                               '
 ,


       (a) Supportingfacts(Donotargueorcitelaw.Juststatethespecificfactsthatsupportyourclaim.):




       (b) DirectAppealofGround Three:
               Ifyou appealedfrom thejudgmentofco'nviction,didyouraisethisissue?
                     Yes          No
              (2) Ifyou did notraisethisissueinyourdirectappeal,explainwhy:


       (c) Post-conviction Proceedings:
           (1) Didyou raisethisissueinany post-convictionmotion,petition,orapplication?
                     Yes          No
              (2) lfyouanswertoQuestion(c)(1)is&$Yes,''state:
              Typeofmotion orpetition'
                                     .
          N ameand location ofthe courtw herethe motion orpetition wasfiled:


              Docketorcasenumber(ifyouknow):                        '                       '
          Date ofthe court'sdecision:
          Result(attachacopy ofthecourt'sopinion ororder,ifavailable):

          '



              (3) Didyourec)eiveahearingonyourmotion,petition,orapplication?
                     Yes          No
          (4) Didyouappealfrom thedenialofyourmotion,petition,orapplication?
                     Yes          No
              (5) lfyouranswerto Question (c)(4)is<GYes,''didyouraisetheissueintheappeal?
                     Yes          No


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            (6) lfyouranswertoQuestion(c)(4)is<(Yes,''state:
            Nam eand location ofthe courtwhere theaooealwasfiled:



            Date ofthe court'sdecision:
            Result(attach acopy ofthecourt'sopinion ororder.ifavailable):



            (7) lfyouranswertoQuestion(c)(4)orQuestion (c)(5)is<dNo,''explain whyyoudidnotappealorraisethis
            issue:




GRO UND FOUR:


        (a) Supportingfacts(Donotargueorcitelaw.Juststatethespecitk factsthatsupportyourclaim.):




        (b) DirectXppealeofGround Four:
                lfyouappealedfrom thejudgmentofconviction,didyouraisethisissue?
                     YeS         NO
            (2) Ifyoudidnotraisethisissueinyourdirectappeal,explainwhy:


        (c) Post-conviction Proceedings:
            (1) Didyouraisethisissueinanypost-convictionmotion,petition,orapplication?
                     Yes         No

            (2) lfyou answertoQuestion(c)(l)is1çYes,''state:

                                                                                                   Page9of 13
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           Typeofm otion orpetition:
          Name and location ofthecourtwherethe motion orpetition wmsfiled:


          Docketorcasenumber(ifyouknow):
          Date ofthecourt'sdecision'
                                   .
          Result(attachacopy ofthecourt'sopinionororder,ifavailable):

                     -                 - . -.- .   --           - -   '


          (3) Didyoureceiveahearingonyourmotion,petition,orapplication?
                   Yes    1     No     :
          (4) Didyou appealfrom thedenialofyour'
                                               motion,petition,orapplication?
                   Yes    q     No        '
          (5) Ifyouranswerto Question(c)(4)is$çYes,''didyou raisetheissuein theappeal?
                   yesL         xoU
          (6) IfyouranswertoQuestion(c)(4)isG$Yes,''state:
          Name and location ofthecourtwherethe appealwasfiled:


          Docketorcasenumber(ifyou knowl:                                                        '
          Dateofthecourt'sdecision:
          Result(attachacopy ofthecourt'sopinionororder,ifavailablel:


          (7) lfyouranswertoQuestion(c)(4)orQuestion(c)(5)is$W o,''explainwhyyou didnotappealorraisethis
          issue:   '




 13. Isthere any ground in thism otion thatyou have notpreviously presented in som efederalcourt? lfso,which
     ground orgroundshavenotbeen presented,and state yourreasonsfornotpresenting them :


                                                        y-
                                                         j!
                                                         . :j




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 14. Doyouhaveanymotion,petition,orappealnow en in (filedandnotdecidedyet)in any courtforthe
         you arechallenging?         Yes       '     No
         lf&(Yes,''state th4 name and location ofthe court,the docketorcase number,thetypeofproceeding,and the
         issuesraised.




 15. Give the nam eand address,ifknown,ofeach attorney who represented you in thefollow ing stagesofthe
         judgmentyouarechallenging:
         (a) Atthepreliminaryhearing: Ch Kûk'
                                            t 6 E fh cc:q E.
                                     FE t
                                        )fPx/h.L flb pLI ç p E'
                                                              FE hfbtK               .



         (b)Atthearraignmentandplea:% g; s:gmt& R bj:7gqL2AN AV'E
                                           5uIT L         Lj()n
         (c)Atthetrial:                  w :s-.
                                              y. ?q k% q s q (11) r't. )?ul()j

         (d) Atsentencing:

     :(e) Onappe.al:
     .
     L                                                     (ç,.;  .


     ' (9 Inany post-convictionproceeding:                                  '

         (g) Onappealfrom any rulingagainstyog in apost-convictionproceeding:



 16. W ereyou sentenced on m ore than one courtofan indic' ent,oron morethan one indictment,in the same court
     and atthesam etim e?           Yes           No

         Doyouhaveany futtlresentencetoserveaAery ucompletethesentenceforthejudgmentthatyouare
         challenging?            Yes               No .
         (a) lfso,givenameandlocation ofcourtthatimposedtheothersentenceyouwillserveinthefuture:


         (b) Givethedatetheothersentencewasimposed:
         (c) Givethelengthoftheothersentence:
         (d)Haveyoufiled,ordoyouplan tofile,anymotion,petition,orap licationthatchallengesthejudgmentor
         sentenceto be served in the future?         Yes              No

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 18. TIMELINESS OF M OTION:Ifyourjudgmentofcopvictionbecamefinaloveroneyearago,youmustexplain
     whytheone-yearstatuteoflimitationsascontainedin28U.S.C.j2255doesnotbaryourmotion.*




    *TheAntiterrorism and EffectiveDeathPenalty Actof1996(SEAEDPA'')ascontained in28U.S.C.j2255,
    paragraph 6,providesin pal'
                              tthat:
       A one-yearperiod oflim itation shallapply to a motion underthissection. Thelim itation period shallrun
       from the latestof-
           (1) thedateonwhichthejudgmentofconvictionbecamefinal;
           (2) thedateonwhichtheimpedimenttomakingamotion created by governmentalactioninviolation of
           the Constitution orlaws oftheU nited Statesisremoved,ifthe movantw asprevented from m aking such a
           motion by such governm entalaction;
           (3) thed@teonwhichtherightasserted wasinitially recognizedbytheSupremeCourt,ifthatrighthas
           been newly recognized by the Suprem eCourtand made retroactively applicableto caseson collateral
           review ;or                                                     .

           (4) thedateon whichthefactssupportingtheclaim orclaimspresentedcould havebeen discovered
           through theexercise ofduediligence.


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Therefore.movantasksthatthe Courtqrantthe follow ine relief:

kE(b1/jI9tA S:& :Ew c(            .     z wh2u rE ))
orany otherreliefto which movantmay be entitled.




                                                               SignatureofAttorney(ifany)


Idectare(orcertify,verify,orstate)underpenaltyofperjurythattheforegoingistrueandcorrectandthatthisMotion
unuerzav.s.
          c.9=5swasplaceuintheprisonmauingsystemon tesàe-ntt.c 9-7 '
                                                                   ccc-k                                        .
                                                                              (month,date,year)


Executed.tsigned)on                                       ' (date)
     h


                                                                      '

                                                                    JJ            .z'.

                                                               Signature ofM ovant


lfthe person signing isnotm ovant,state relationship to m ovantand explain why movantisnotsigning thismotion.
     ;




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